              Case 2:03-cr-00376-DLJ Document 54 Filed 04/14/08 Page 1 of 2


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 8                               IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                          )    CASE NO. Cr.-S-03-376-DLJ
                                                         )
12                         Plaintiff,                    )
                                                         )    GOVERNMENT’S MOTION TO DISMISS
13                  v.                                   )    INDICTMENT AS TO DEFENDANT
                                                         )    FRANCES DEVERA MORADA; ORDER
14    FRANCES DEVERA MORADA, and                         )    THEREON
      LILY YVONNE MIZRAHE,                               )
15                                                       )
                          Defendants.                    )
16                                                       )
17
18          Pursuant to Rule 48 of the Federal Rules of Criminal Procedure and an Agreement for Deferred
19   Prosecution, the United States hereby moves the Court, in the interest of justice, for an order dismissing
20   the indictment in this case against defendant FRANCES DEVERA MORADA since defendant
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             Case 2:03-cr-00376-DLJ Document 54 Filed 04/14/08 Page 2 of 2


 1   MORADA has satisfactorily completed an eighteen-month diversion program. (See Attachment A)
 2   DATED: April 11, 2008
 3                                                   McGREGOR W. SCOTT
                                                     United States Attorney
 4
 5                                               By, /s/ John K. Vincent
                                                    JOHN K. VINCENT
 6                                                  Assistant U.S. Attorney
 7
 8
 9                                             ORDER
10         In view of the instant motion, and GOOD CAUSE APPEARING THEREFORE, IT IS
11   HEREBY ORDERED that the indictment in the above-captioned action as to defendant FRANCES
12   DEVERA MORADA is hereby dismissed and that bond, if any, is hereby exonerated.
13   DATED: April 11, 2008
14                                                   __________________________________
                                                     D. LOWELL JENSEN
15                                                   Senior United States District Judge
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